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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN

 LAURIE WOERPEL,

        Plaintiff,                               Case No.: 1:17-cv-00728-JTN-ESC
                                                 Hon. Judge Janet T. Neff
 v.                                              Magistrate Judge Ellen S. Carmody

 CREDIT SERVICES, INC.,

        Defendant.

  ORDER DISMISSING WITH PREJUDICE PLAINTIFF’S COMPLAINT AGAINST
         DEFENDANT WITHOUT FEES OR COSTS TO ANY PARTY

       Pursuant to the Stipulation between Plaintiff Laurie Woerpel and Defendant Credit

Services, Inc. (ECF No. 26), Plaintiff’s Complaint is hereby dismissed with prejudice, and

without fees or costs awarded to any party.

       This Order resolves all pending claims and closes the case.

       IT IS SO ORDERED.



            May 11, 2018
 Dated: _________________________                  /s/ Janet T. Neff
                                                 ____________________________________
                                                 Hon. Janet T. Neff
                                                 United States District Court
                                                 Western District of Michigan
